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    8                          UNITED STATES DISTRICT COURT
    9                         CENTRAL DISTRICT OF CALIFORNIA
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   11    DENNIS SEIDER and LEAH SEIDER, as            No. 2:20-cv-08781-SPG-MRW
         Trustees of the Seider Family Trust,
   12                                                 ORDER GRANTING
                              Plaintiffs,             STIPULATION TO EXTEND
   13
               v.
   14
         CITY OF MALIBU, et al.
   15
                              Defendants.
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              The Court, having considered the Parties’ Joint Status Report, hereby
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        CONTINUES the Parties’ joint requests and ORDERS as follows:
   20
              (1) The parties shall submit a joint status update of settlement by March 8,
   21
                    2024.
   22
              (2) The deadline for exchanging initial disclosures shall be extended through
   23
                    and include March 22, 2024.
   24
              IT IS SO ORDERED.
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              Dated:___________________.
                     January 12, 2024             ________________________________
   27                                             HON. SHERILYN PEACE GARNETT
   28                                             UNITED STATES DISTRICT JUDGE
